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             IN THE UNITED STATES DISTRICT COURT FOR THE
                         DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                         Plaintiff,

      Vs.                                         Nos. 10-40009-01-SAC
                                                       11-4041-SAC

ANDREW RUTHERFORD,

                         Defendant.


                          MEMORANDUM AND ORDER

            Not taking a direct appeal from his conviction and sentence on a

drug trafficking offense, the defendant Andrew Rutherford filed a motion for

post-conviction relief under 28 U.S.C. § 2255 that this court denied on

October 20, 2011. (Dk. 176). The court also denied a certificate of

appealability finding that the defendant’s issues were “devoid of merit” and

“frivolous challenges” that “no reasonable jurist would debate . . . should

have been resolved differently or that . . . are worthy of more

consideration.” (Dk. 176, p. 16). Rutherford appealed this ruling and

recently filed a motion for leave to appeal in forma pauperis. (Dk. 180). By

this order, the court certifies that the analysis and conclusions stated in its

prior order establish the defendant’s appeal “is not taken in good faith” as

required by 28 U.S.C. § 1915(a)(3).

            While the provisions of 28 U.S.C. § 1915, in particular, §§
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1915(a)(2) and (b), that were amended by The Prison Litigation Reform Act

(PLRA), do not apply to an action under 28 U.S.C. § 2255, the requirements

in §§ 1915(a)(1) and (3) are applicable and must be satisfied. See Rivera v.

Mullin, 2011 WL 6160231, at *2 (10th Cir. 2011) (citing in part United

States v. Simmonds, 111 F.3d 737, 744 (10th Cir. 1997), overruled on other

grounds, United States v. Hurst, 322 F.3d 1256, 1261 n. 4 (10th Cir. 2003).

Thus, Rutherford must show “‘a financial inability to pay the required fees

and the existence of a reasoned, nonfrivolous argument on the law and facts

in support of the issues raised on appeal.’” McIntosh v. U.S. Parole Comm’n,

115 F.3d 809, 812-13 (10th Cir. 1997) (quoting DeBardeleben v. Quinlan,

937 F.2d 502, 505 (10th Cir. 1991)); see United States v. Cline, 2006 WL

297717 at *1 (D. Kan. 2006).

            Rutherford discloses his issues on appeal will be Tenth

Amendment challenges to the Controlled Substance Act as codified at 21

U.S.C. § 841(a), including the constitutional argument that the statute

violates the power reserved to the State of Kansas by the Tenth

Amendment. The district court’s prior order found that these constitutional

challenges lacked any reasonable argument in the law, as the Tenth Circuit

had held repeatedly that this very statute did not violate the Tenth

Amendment. (Dk. 176, pp. 10-11). Additionally, the court cited and quoted

from United States v. Westbrook, 125 F.3d 996, 1010 (7th Cir.), cert,



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denied, 522 U.S. 1036 (1997):

      Finally, Mr. Westbrook asserts that the federal crack cocaine laws
      usurp the states' traditional police powers under the Tenth
      Amendment. As we recognized in United States v. Kenney, 91 F.3d
      884, 891 (7th Cir. 1996), however, the Congress may regulate
      conduct that a state may also regulate. When the law or regulation in
      question is a proper exercise of congressional power under the
      Commerce Clause and does not require state action, the statute does
      not violate the Tenth Amendment. Id. (holding that 18 U.S.C. § 922(
      o) does not violate the Tenth Amendment). The same argument has
      been made in the context of 21 U.S.C. §§ 841 and 846 as well. See
      United States v. Lerebours, 87 F.3d 582, 585 (1st Cir. 1996) (holding
      that “courts will not strike down a statute under the Tenth Amendment
      where Congress was within its powers under the Commerce Clause to
      enact the statute”) (citing United States v. Owens, 996 F.2d 59, 60–61
      (5th Cir.1993)), cert. denied, 519 U.S. 1060, 117 S.Ct. 694, 136
      L.Ed.2d 617 (1997). We conclude that the federal statutes
      criminalizing conduct involving narcotics trafficking, such as the
      conspiracy to distribute crack at issue here, are constitutional as a
      proper exercise of Congress' powers under the Commerce Clause.

The district court’s prior order soundly rejected all issues in Rutherford’s §

2255 motion as frivolous challenges and devoid of merit. Because his

pending motion does not show a reasoned, non-frivolous argument will be

presented on appeal, the court hereby certifies that the appeal is not taken

in good faith.

            IT IS THEREFORE ORDERED that the court certifies pursuant to

28 U.S.C. § 1915(a)(3) that Rutherford’s appeal from the court’s prior order

(Dk. 176) is not taken in good faith and, therefore, that the plaintiff’s motion

for leave to appeal in forma pauperis (Dk. 180) is denied.




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      Dated this 25th day of January, 2012, Topeka, Kansas.



                 s/ Sam A. Crow
                 Sam A. Crow, U.S. District Senior Judge




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